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                          UNITED STATES DISTRICT COURT
                                                       for the
                                 DISTRICT OF MASSACHUSETTS


                   FESNEL LAFORTUNE
                              Petitioner(s)
                                                                       Civil Action No. 1:22−CV−11624−DJC
                                   v.


             ALEXANDRO N MAYORKAS
                             Respondent(s)




                                              PROCEDURAL ORDER
    Petitioner has submitted for filing a petition for writ of habeas corpus.

     A party filing a habeas action in this Court must either (1) pay the $5.00 filing fee for habeas corpus actions;
 or (2) seek leave to proceed without prepayment of the filing fee. See 28 U.S.C. § 1914(a) (fees); 28 U.S.C. §
 1915 (proceedings in forma pauperis). The motion for leave to proceed without payment of the filing fee must be
 accompanied by "a certificate from the warden or other appropriate officer of the place of confinement showing
 the amount of money or securities that the petitioner has in any account in the institution." Rule 3(a)(2) of the
 Rules Governing Section 2254 Cases.1

    Because petitioner has not submitted a filing fee or moved for leave to proceed in forma pauperis, the
 petitioner shall be granted additional time to do so.

    Accordingly, if petitioner wishes to proceed with this action, within 21 days of the date of this Procedural
 Order, petitioner must either (1) pay the $5.00 filing fee; or (2) file a motion for leave to proceed in forma
 pauperis accompanied by a certified prison account statement. Failure of petitioner to comply with this directive
 may result in the dismissal of this action without prejudice.

    For the convenience of litigants, this Court provides a form application to seek leave to proceed in forma
 pauperis. The Clerk shall provide petitioner with an Application to Proceed in District Court Without Prepaying
 Fees or Costs.

    SO ORDERED.

                                                                            /s/ − Denise J. Casper

  Dated: September 28, 2022                                      UNITED STATES DISTRICT JUDGE




 1The rules governing petitions brought pursuant to 28 U.S.C. § 2254 cases may be applied at the discretion of
the District Court to other habeas petitions. See Rule 1(b) of the Rules Governing Section 2254 Cases.
